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                                                                          9                           IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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United States District Court
                               For the Northern District of California




                                                                         12   CAROLYN JEWEL, ET AL.,
                                                                         13                  Plaintiffs,                               No. C 08-04373 JSW
                                                                         14     v.
                                                                         15   NATIONAL SECURITY AGENCY, ET AL.,
                                                                                                                                       NOTICE OF QUESTIONS FOR
                                                                         16                  Defendants.                               HEARING
                                                                         17
                                                                                                                              /
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                                                                         19          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD, PLEASE TAKE
                                                                         20   NOTICE OF THE FOLLOWING QUESTIONS FOR THE HEARING SCHEDULED ON
                                                                         21   MARCH 29, 2019 AT 9:00 A.M.:
                                                                         22          The Court has reviewed the parties’ papers and, thus, does not wish to hear the parties
                                                                         23   reargue matters addressed in those pleadings. If the parties intend to rely on authorities not
                                                                         24   cited in their briefs, they are ORDERED to notify the Court and opposing counsel of these
                                                                         25   authorities no later than Monday, March 25, 2019 at 10:00 a.m. and to submit copies as soon as
                                                                         26   possible directly to chambers. If the parties submit such additional authorities, they are
                                                                         27   ORDERED to submit the citations to the authorities only, with reference to pin cites and
                                                                         28   without argument or additional briefing. Cf. N.D. Civil Local Rule 7-3(d). The parties will be
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                                                                          1   given the opportunity at oral argument to explain their reliance on such authority.
                                                                          2            The parties shall address the following questions:
                                                                          3   1.       In his concurrence in Obama v. Klayman, Senior Circuit Judge Williams determined that
                                                                                       plaintiffs lacked standing because “plaintiffs lack direct evidence that records involving
                                                                          4            their calls have actually been collected.” 800 F.3d 559, 565 (D.C. Cir. 2015). Plaintiffs
                                                                                       argued that they had standing based on the contention that the effectiveness of the
                                                                          5            alleged surveillance program would increase with the expansion of coverage, even in the
                                                                                       absence of actual knowledge that any specific communication of any particular named
                                                                          6            plaintiff was collected by the Government. The judge disagreed, however, and found
                                                                                       that the “assertion that NSA’s collection must be comprehensive in order for the
                                                                          7            program to be most effective is no stronger than the Clapper plaintiffs’ assertions”
                                                                                       premised upon speculations and assumptions. Id. at 567.
                                                                          8
                                                                                       a.     On what authority do Plaintiffs argue that this Court’s ruling should not adopt
                                                                          9                   this reasoning?
                                                                         10            b.     Without any specific finding that any specific plaintiff’s communications were
                                                                                              touched by the alleged surveillance programs at issue, how can the Court find
                                                                         11                   standing to sue?
United States District Court
                               For the Northern District of California




                                                                         12   2.       On appeal in Klayman v. Obama, the court reiterated the test established by the Supreme
                                                                                       Court in Clapper: plaintiffs “cannot rest their alleged injury on bare speculation that
                                                                         13            their contacts abroad will be targeted simply because they reside in ‘geographic areas’
                                                                                       that they believe to be ‘a special focus’ of the U.S. government.” Klayman v. Obama, --
                                                                         14            - Fed. Appx. ---, 2019 WL 668267, at *3 (D.C. Cir. Feb. 5, 2019) (citing Clapper v.
                                                                                       Amnesty International USA, 568 U.S. 398, 406 (2013)). “Instead, they must allege
                                                                         15            injury that is ‘certainly impending’ without relying on a ‘highly attenuated chain of
                                                                                       possibilities.’” Id. (citing Clapper, 568 U.S. at 410). Similar to the appellants in
                                                                         16            Klayman, Plaintiffs here “allege no more than that they communicate with various
                                                                                       individuals in countries [they] imagine might attract government surveillance.” See id.
                                                                         17
                                                                                       a.     On what authority do Plaintiffs argue that this Court’s ruling should not adopt
                                                                         18                   this reasoning?
                                                                         19            b.     Without any specific finding that any specific plaintiff’s communications were
                                                                                              touched by the alleged surveillance programs at issue, how can the Court find
                                                                         20                   standing to sue?
                                                                         21   3.       Another necessary element to establish Article III standing is the requirement that any
                                                                                       concrete and particularized injury be “redressable by a favorable ruling.’” Clapper, 568
                                                                         22            U.S. at 409. In order to issue a dispositive decision on the standing issue, a finding of
                                                                                       standing would necessitate disclosure of possible interception of plaintiffs’
                                                                         23            communications, thereby signaling injury. Such a disclosure may imperil national
                                                                                       security. See id. at 412 n.4 (“the court’s postdisclosure decision about whether to
                                                                         24            dismiss the suit for lack of standing would surely signal to the terrorist whether his name
                                                                                       was on the list of surveillance targets.”)) Any attempt to prove the specific facts of the
                                                                         25            programs at issue, or to defend against the Plaintiffs’ analysis of the programs would
                                                                                       risk disclosure of the locations, sources, methods, assisting providers, and other
                                                                         26            operational details of the government’s ongoing intelligence-gathering activities.
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                                                                          1            a.     If any finding or final judgment is impossible without disclosing information that
                                                                                              might imperil the national security, how can Plaintiffs assert that their alleged
                                                                          2                   injury is redressable?
                                                                          3            b.     How can any potential plaintiff extract herself from this Catch-22? Is there any
                                                                                              way to challenge any alleged overreach or impropriety in the surveillance tactics
                                                                          4                   employed by the Government without, eventually, running into the risk that
                                                                                              examination or resolution of the challenge would potentially risk national
                                                                          5                   security?
                                                                          6   4.       In Fazaga v. FBI, the Ninth Circuit stated that “§ 1806(f) supplies an alternative
                                                                                       mechanism for the consideration of electronic state secrets evidence [that] therefore
                                                                          7            eliminates the need to dismiss the case entirely because of the absence of any legally
                                                                                       sanctioned mechanism for a major modification of ordinary judicial procedures.” ---
                                                                          8            F.3d ---, 2019 WL 961953, at *23 (9th Cir. Feb. 28, 2019). The court also specifically
                                                                                       noted that § 1806(f) applies to “aggrieved persons,” defined in § 1801(k) as “a person
                                                                          9            who is the target of an electronic surveillance or any other person whose
                                                                                       communications or activities were subject to electronic surveillance.” Id. at *9. The
                                                                         10            court did not rule out a renewed consideration of the state secrets privilege defense after
                                                                                       § 1806(f)’s procedures have been followed. Id. at *40 & n.52. With this in mind:
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United States District Court




                                                                                       a.     Without any specific finding that any specific plaintiff’s communications were
                               For the Northern District of California




                                                                         12                   touched by the alleged surveillance programs at issue, how can the Court find
                                                                                              that Plaintiffs are “aggrieved person[s]” such that this Court is required to
                                                                         13                   continue “to use § 1806(f)’s procedures to determine whether the surveillance . .
                                                                                              . was lawfully authorized and conducted”? Id. at *26.
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                                                                                       b.     In Fazaga, the Ninth Circuit noted that the plaintiffs had sufficiently alleged they
                                                                         15                   were “aggrieved persons” to survive a motion to dismiss their FISA cause of
                                                                                              action under § 1810. Where, as here, it may be that Plaintiffs do not have
                                                                         16                   admissible evidence to demonstrate that their communications were touched by
                                                                                              the alleged surveillance programs at issue, and that any classified evidence
                                                                         17                   tending to show whether or not their communications were touched cannot be
                                                                                              relied upon in the interest of national security, what light does Fazaga shed on
                                                                         18                   whether this Court may now dismiss Plaintiffs’ claims under the state secrets
                                                                                              privilege?
                                                                         19
                                                                                       c.     Is it not the case that anything other than dismissal at this stage would signal that
                                                                         20                   the surveillance programs at issue touched Plaintiffs’ communications, which the
                                                                                              Government asserts would do grave harm to national security? Does Fazaga
                                                                         21                   provide any guidance on how this Court is to proceed any further, under
                                                                                              § 1806(f) or otherwise? Does the fact that this Court has reviewed the evidence
                                                                         22                   on standing and now addresses the claims at summary judgment and not at the
                                                                                              motion to dismiss distinguish this matter from Fagaza and Jewel v. NSA, 673
                                                                         23                   F.3d 902 (9th Cir. 2011)?
                                                                         24   5.       What are the parties’ positions post-Fagaza on the Plaintiffs’ request that this Court
                                                                                       reconsider its earlier ruling on the motion to dismiss the Fourth Amendment claims? Is
                                                                         25            the evidence marshaled by the Government on Plaintiffs’ standing pursuant to their
                                                                                       statutory claims the same as what would have been produced pursuant to the claims
                                                                         26            under the Fourth Amendment?
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                                                                          1   6.       Do the parties have anything further they wish to address?
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                                                                                       IT IS SO ORDERED.
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                                                                              Dated: March 14, 2019
                                                                          4                                                            JEFFREY S. WHITE
                                                                                                                                       UNITED STATES DISTRICT JUDGE
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United States District Court
                               For the Northern District of California




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